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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

RYAN KOBBE,

                    Plaintiff,

v.                                                      Case No: 6:16-cv-220-Orl-37DAB

BETHUNE-COOKMAN UNIVERSITY,
INC.,

                    Defendant.


                      ORDER OF DISMISSAL WITH PREJUDICE

      This cause is before the Court upon the Response to Order to Show Cause filed

May 23, 2016 (Doc 14) indicating that this case has settled. Accordingly, it is:

      ORDERED AND ADJUDGED:

      That the above-styled cause is hereby DISMISSED WITH PREJUDICE, subject to

the right of any party to move the Court within sixty (60) days thereafter for the purpose

of entering a stipulated form of final order or judgment; or, on good cause shown, to

reopen the case for further proceedings. All pending motions are denied as moot and

all deadlines are terminated.

      The Clerk is hereby ordered to close this file.

      Additionally, the Order to Show Cause (Doc 13) is hereby DISCHARGED.

      DONE AND ORDERED at Orlando, Florida this 13th day of June, 2016.
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Copies:    Counsel of Record




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